Case 1:04-cr-00032-MAC-KFG           Document 152        Filed 09/21/11      Page 1 of 2 PageID #:
                                            422




                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 V.                                              §    CASE NO. 1:04-CR-32
                                                 §
 EZRA TATMON                                     §


                       MEMORANDUM ORDER ADOPTING
          FINDINGS OF FACT AND RECOMMENDATION ON PLEA OF TRUE

        The Court referred this matter to United States Magistrate Judge Keith F. Giblin, at

 Beaumont, Texas, for consideration pursuant to 28 U.S.C. § 636(b) and the Local Rules for the

 United States District Court for the Eastern District of Texas. In accordance with 18 U.S.C.

 § 3401(i) and 18 U.S.C. § 3583(e), Judge Giblin held a hearing and submitted findings of fact and

 a recommendation on the revocation of the defendant’s supervised release.

        Having conducted the proceedings in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 and 18 U.S.C. § 3583, the magistrate judge issued his Findings of Fact and

 Recommendation on Plea of True [doc. #151]. The magistrate judge recommended that the Court

 revoke the defendant’s supervised release and impose a term of imprisonment for the revocation with

 an additional term of supervision to follow.

         The parties have not objected to Judge Giblin’s report, and the defendant waived his right

 to be present and allocute at sentencing. Accordingly, after review, the Court concludes that the

 Findings of Fact and Recommendation should be accepted.




                                                -1-
Case 1:04-cr-00032-MAC-KFG           Document 152        Filed 09/21/11      Page 2 of 2 PageID #:
                                            423



        It is ORDERED that the Findings of Fact and Recommendation on Plea of True [doc. #151]

 are ADOPTED. The Court finds that the defendant, Ezra Tatmon, violated conditions of his

 supervised release. The Court accordingly ORDERS that the defendant’s term of supervision is

 REVOKED. Pursuant to the magistrate judge’s recommendation, the Court ORDERS the

 defendant to serve a term of eight (8) months imprisonment for the revocation, with an additional

 twenty-eight (28) month term of supervised release to follow. The conditions of the new supervision

 term will be set forth in a separate revocation judgment.

           So ORDERED and SIGNED this 21 day of September, 2011.




                                                         ___________________________________
                                                         Ron Clark, United States District Judge




                                                -2-
